
This matter have been duly presented pursuant to Rule 1:20-10(b), following a granting of a motion for discipline by consent (DRB 19-107) of Charles M. Damian of Denville, who was admitted to the bar of this State in 1979;
And the Office of Attorney Ethics and respondent having signed a stipulation of discipline by consent in which it was agreed that respondent violated RPC 1.15(d) and Rule 1:21-6 (recordkeeping violations);
And the parties having agreed that respondent's conduct violated RPC 1.15(d) and Rule 1:21-6, and that said conduct warrants a reprimand or lesser discipline;
And the Disciplinary Review Board having determined that a reprimand is the appropriate discipline for respondent's unethical conduct and having granted the motion for discipline by consent in District Docket No. XIV-2017-0716E;
**241And the Disciplinary Review Board having submitted the record of the proceedings to the Clerk of the Supreme Court for the entry of an order of discipline in accordance with Rule 1:20-16(e);
And good cause appearing;
It is ORDERED that Charles M. Damian of Denville is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17,
